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                                 #:5970




                      Exhibit D
         Case 8:22-cv-00099-DOC-DFM Document 370-4 Filed 10/03/22 Page 2 of 2 Page ID
                                          #:5971
  From: Kenneth Chesebro <                       >
  Sent: Wednesday, December 30, 2020 10:20 PM MST
  To: Bruce Marks <                   >; Eastman, John <jeastman@chapman.edu>
  CC: N na Khan <                   >; Tom Su van <                    >; Yu a Cherepanova
  <                           >
  Subject: Re: PA Rep y to Boockvar
                                                              External Message

  I m stay ng at Trump Int n DC from Jan 3 to at east the 8th. Do ng my part to curry favor w th the Pres dent by n ng h s
  (empty) pockets! 

  Get Out ook for OS

  From: Bruce Marks <                    >
  Sent: Thursday, December 31, 2020 12:01:32 AM
  To: Kenneth Chesebro <                       >; Eastman, John <jeastman@chapman.edu>
  Cc: N na Khan <                   >; Tom Su van <                      >; Yu a Cherepanova <                                               >
  Subject: RE: PA Rep y to Boockvar

  A shame you are not in DC and could contribute to violation of the emoluments clause. 

  From: Kenneth Chesebro <                       >
  Sent: Wednesday, December 30, 2020 11:51 PM
  To: Bruce Marks <                   >; Eastman, John <jeastman@chapman.edu>
  Cc: N na Khan <                   >; Tom Su van <                    >; Yu a Cherepanova <                                                 >
  Subject: Re: PA Rep y to Boockvar

  Sure, I w take a ook

  Am at Trump Internat ona n NYC, so I'm fee ng extra nsp red to work on the Pres dent's cases!! o


  From: Bruce Marks <                   >
  Sent: Wednesday, December 30, 2020 11:28 PM
  To: Eastman, John < eastman@chapman.edu>; Kenneth Chesebro <                                   >
  Cc: N na Khan <                  >; Tom Su van <                                 >; Yu a Cherepanova <                                     >
  Subject: PA Rep y to Boockvar
Work Product




    NOTE: This email originated from outside Chapman’s network. Do not click links or open attachments unless you recognize the sender and
                                                           know content is safe.




                                                                                                                             Chapman059767
